Case 2:21-cv-00563-JNW   Document 471-3   Filed 06/26/25   Page 1 of 4




              EXHIBIT 3
          Case 2:21-cv-00563-JNW              Document 471-3           Filed 06/26/25     Page 2 of 4

                                                                                                           Neil Currie
                                                                                                       Vice President
                                                                                                 2355 Highway 36 W.
                                                                                                             Suite 400
                                                                                                 Roseville, MN 55113
                                                                                            Telephone: (612)332-6545
                                                                                                  Fax: (612)342-2334



March 26, 2024

Gary E. Mason, Esq.
Mason, LLP
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Via Email to: gmason@masonllp.com

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123 South Broad Street
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Philadelphia, PA 19109
Via Email to: ccasper@mmwr.com

Case Number: 01-23-0005-8758

Individual Claimants
-vs-
Valve Corporation

Dear Parties:

This acknowledges receipt of 14,911 individual Demands for Arbitration for the matters in the enclosed case list and
an arbitration clause providing for administration by the American Arbitration Association (AAA). Parties have met
the filing requirement for these cases. Your cases have now assigned to Priscilla Cortez for administration. Please
update your file with the contact information below:

                                                  Priscilla Cortez
                                             Manager of ADR Services
                                                   (559)490-1854
                                              PriscillaCortez@adr.org

The Mass Arbitration Supplementary Rules (effective August 1, 2023), in conjunction with the Consumer
Arbitration Rules will apply to these matters. For more information on Mass Arbitration, please click here.

Answer

    • The Respondent has until May 10, 2024 to file an answer to the claim.
    • Answers received after the due date will still be provided to the arbitrator.
    • Please reference the Rules if filing a counterclaim.
             Case 2:21-cv-00563-JNW              Document 471-3           Filed 06/26/25        Page 3 of 4


 Initial List of People Form

        Please complete and return the enclosed Initial List of People Form by May 10, 2024. Instructions are
          provided on the Initial List form and on the enclosed reference sheet.


Hearing Type and Locale of In-Person Hearing

       • Please refer to the Mass Arbitration Supplementary Rules for information regarding the Fixing of Locale (the
           city, county, state, territory and/or country where the arbitration will take place).
       • If no disclosed claim or counterclaim exceeds $25,000, the matter shall be resolved by the Procedures for the
           Resolution of Disputes through Document Submission contained in the Consumer Arbitration Rules, unless
           a party asks for a hearing or the arbitrator decides that a hearing is necessary.

 Amounts Paid or Due

       • Initial Administrative Fees have been paid.

 Cybersecurity and Privacy

        Please review the enclosed AAA-ICDR® Best Practices Guide for Maintaining Cybersecurity and Privacy,
          and AAA-ICDR® Cybersecurity Checklist.

 AAA WebFile®

   •     Pursuant to the Supplement, Rule MA-3(b), the service of documents, notices and correspondence will be
         effected via electronic means, which may involve the AAA’s WebFile portal.
   •     If you have a WebFile account, you should see this case listed when you log in. If you do not see the case
         number when you login, please contact the undersigned.
   •     If you do not have a WebFile account, please email PriscillaCortez@adr.org. We will coordinate with the
         AAA’s customer service team to send you a registration email.
   •     WebFile can be accessed via our mobile app, where you can see your case at a glance.
   •     Any communications provided to the AAA in a single, combined, electronic format will be available in
         WebFile under the above case number.


 Small Claims Court Option

        We draw your attention to R-9 of the Consumer Arbitration Rules. If a party’s claim is within the jurisdiction
          of a small claims court, either party may choose to exercise the small claims option. If either party would like
          this matter decided by a small claims court, please send your written request to the case administrator and
          copy all other parties. If the parties disagree over whether the claim is within the jurisdiction of a small
          claims court, the case will proceed in arbitration and the arbitrator may make a final determination on
          whether the claim may proceed to small claims court.
            Case 2:21-cv-00563-JNW                Document 471-3      Filed 06/26/25       Page 4 of 4


Consumer Arbitration Awards

       Per Consumer Rule R-43(c), please be advised that the AAA may choose to publish an award rendered under
         these Rules; however, the names of the parties and witnesses will be removed from awards that are published,
         unless a party agrees in writing to have its name included in the award.

Next Administrative Step

At this time the American Arbitration Association (AAA) requests an administrative conference call with the parties.
Please use this link to complete the calendar.
Instructions for utilizing the online calendar:


  •     Click on the link.
  •     Type in your full name next to “sign in.”
  •     Type in any password you want (there is no need to set up a profile or account).
  •     Highlight the times you are available. Your availability will show on the calendar as you enter it and will
        reveal mutual times to schedule the call.
  •     When done, simply close the web page (there is no need to save; to confirm your updates registered, simply
        click back on the original link).

All times displayed on the online calendar reflect your local time zone.
Please provide your availability by Monday April 1, 2024. If we do not receive a response, we will presume all
options are acceptable and this hearing will be set.
Please review the enclosed Consumer Arbitration Reference Sheet for more information or view our website at
www.adr.org/consumer.
The AAA appreciates the opportunity to assist you with your dispute resolution needs.


Sincerely,
/s/
Priscilla Cortez
Manager of ADR Services
Direct Dial: (559)490-1854
Email: PriscillaCortez@adr.org
Fax: (855)433-3046

Supervisor Information: Victoria Chandler | Director of ADR Operations | VictoriaChandler@adr.org

Enclosures

cc:     Gavin W. Skok, Esq.
        Douglas Matthews
        Timothy B. McGranor
        Theodore B. Bell
        Kenneth J. Rubin, Esq.
        John G. Papianou, Esq.
        Kara M. Mundy, Esq.
        Danielle L. Perry, Esq.
